Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 1 of 17




                                                             FILED
                                                  UNITED STATES DISTRICT COURT
                                                       DENVER, COLORADO
                                                          11:20 am, Feb 17, 2021

                                                    JEFFREY P. COLWELL, CLERK




                                          Colorado Case: 21-mj-00024-NRN
        Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 2 of 17

AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
Glenn Wes Lee Croy, (DOB: XXXXXXXXX)                                 )      Case No.
Terry Lynn Lindsey, (DOB: XXXXXXXX)                                  )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description

             18 U.S.C. § 1752(a)(1) and (2)- Unlawful Entry on Restricted Buildings or Grounds;
             40 U.S.C. § 5104(e)(2)(D) and (G)- Violent Entry and Disorderly Conduct on Capitol Grounds




         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Robert Marcum, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             02/16/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                      G. Michael Harvey, U.S. Magistrate Judge
                                                                                               Printed name and title
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 3 of 17




                                   STATEMENT OF FACTS

       1.      Your affiant, Robert Marcum, is a Special Agent with the Federal Bureau of

Investigation and is presently tasked with investigating criminal activity on the U.S. Capitol

grounds on January 6, 2021. As a Special Agent, I am authorized by law or a Government agency

to engage in or supervise the investigation of violations of Federal criminal laws.

       2.      The facts in this affidavit come from my personal observations; information

obtained from other agents, witnesses, and agencies; and my training and experience. This

affidavit is intended to show merely that there is sufficient probable cause for the requested

warrant. It does not set forth all of my knowledge, or the knowledge of others, about this matter.

                  Background: Events at the U.S. Capitol on January 6, 2021

       3.      The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions

around the U.S. Capitol include permanent and temporary security barriers and posts manned by

U.S. Capitol Police. Only authorized people with appropriate identification are allowed access

inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed

to members of the public.

       4.      On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count of

the Electoral College of the 2020 Presidential Election, which had taken place on November 3,

2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately

1:30 p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.




                                                 1
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 4 of 17




Vice President Mike Pence was present and presiding, first in the joint session, and then in the

Senate chamber.

       5.      As the proceedings continued in both the House and the Senate, and with Vice

President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

exterior of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep

the crowd away from the Capitol building and the proceedings underway inside.

       6.      At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol; however,

shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by

breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd

encouraged and assisted those acts.

       7.      Shortly thereafter, at approximately 2:20 p.m. members of the United States House

of Representatives and United States Senate, including the President of the Senate, Vice President

Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice

President Pence remained in the United States Capitol from the time he was evacuated from the

Senate Chamber until the sessions resumed.

       8.      During national news coverage of the aforementioned events, video footage and

photographs which appeared to be captured on mobile devices of persons present on the scene

depicted evidence of violations of local and federal law, including numerous individuals inside the

U.S. Capitol building without authority to be there, individuals seeking to disrupt the



                                                2
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 5 of 17




Congressional proceedings that day, individuals forcibly assaulting, resisting, and impeding the

U.S. Capitol Police and associated Metropolitan Police Department officers, especially those

gaining entry through violent assaults, individuals entering the offices of Congressional

Representatives and at least one Senator (such as Speaker of the House Nany Pelosi and Senator

Jeff Merkley), individuals damaging and/or stealing property, and otherwise engaging in

disorderly and disruptive conduct.

                             Facts Specific to Glenn Wes Lee Croy

       9.     Glenn Wes Lee Croy (“Croy”) is one individual who entered the U.S. Capitol

building in Washington, D.C. on January 6, 2021. In a conversation conducted over Facebook

Messenger, Croy and an individual hereinafter referred to as “Witness 1” discussed the Capitol

riots. In the course of this Facebook Messenger conversation, Croy told Witness 1, “I was there,”

and sent Witness 1 a picture of himself and another individual inside the U.S. Capitol Building

standing in front of an Abraham Lincoln bust statue. This photograph is pasted below this

paragraph. Witness 1 provided this information to the FBI and identified Croy as “Wes Croy” in

the below photograph as “the male on the right.”




                                               3
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 6 of 17




                                     4
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 7 of 17




       10.     The individual on the left of the above photograph has been identified by law

enforcement as Terry Lynn Lindsey (“Lindsey”), as discussed below.

       11.     The FBI has confirmed with the U.S. Capitol Police that the bust statue Croy and

Lindsey are standing by appears to be located inside the U.S. Capitol Building. It is titled “Lincoln

the Legislator” and rests, according to the Architect of the Capitol’s website, in or near the Small

House Rotunda in the south wing of the Capitol.

       12.     Croy’s Facebook profile display name is “Wes Croy”. Open source research

identified the user ID of Croy’s Facebook account as 100000907014713. Croy’s Facebook profile

picture is a picture of a bronze statue of Baphomet. In the Facebook message screenshots provided

by Witness 1, the profile picture is the same Baphomet statue with the profile name “Wes Croy”.

Additionally, the FBI viewed a Colorado driver’s license photograph of Croy that was taken in

2019. The individual in the official driver’s license photo appears to be the same individual who

is standing on the right in the photograph taken in front of the Abraham Lincoln statue.

       13.     In addition to the above-described Facebook Messenger conversation and shared

photograph, Croy also sent Witness 1 videos from inside and outside the Capitol Building. The

inside videos show at least one other individual dressing up a statue with a hat and glasses, with

other statues already dressed up, and the crowd of people inside the Capitol. The outside video is

filmed from the scaffoldings and shows protestors below.

       14.     As part of the investigation, the FBI obtained body camera footage from the

Metropolitan Police Department that appears to show Croy inside the Capitol Rotunda.

Screenshots from this body camera footage are pasted below this paragraph, with Croy indicated

by a red marking.




                                                 5
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 8 of 17




                                     6
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 9 of 17




        15.     Witness 1 advised that Croy also had a Twitter account by the name “Croy Wes”

and/or “LSD”. Open source research identified an account in the name of “LSD @croy_wes”. On

December 27, 2020, LSD @croy_wes made a reply tweet to Colorado Congresswoman Lauren

Boebert. Boebert Tweeted, “Who is going to be in DC on January 6th to stand with President

Donald Trump?” to which LSD @croy_wes replied, “fellow Coloradan we will be there.” It now

appears that both the Twitter account “LSD @croy_wes” and Facebook account “Wes Croy” have

been deleted.

        16.     Lawfully-obtained Google records show that glenncroy70@gmail.com is

associated with the following basic subscriber information: name of Glenn Croy, Google Account

ID of 163150000000, recovery SMS number of 17193608764, and Account Create Date of

09/07/2016. Open source records indicate that Croy is associated with phone number (719) 360-

8764.



                                              7
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 10 of 17




       17.     According to records obtained through a search warrant which was served on

Google, a mobile device associated with glenncroy70@gmail.com was present at the U.S. Capitol

on January 6, 2021. Google estimates device location using sources including GPS data and

information about nearby Wi-Fi access points and Bluetooth beacons. This location data varies in

its accuracy, depending on the source(s) of the data. As a result, Google assigns a “maps display

radius” for each location data point. Thus, where Google estimates that its location data is accurate

to within 10 meters, Google assigns a “maps display radius” of 10 meters to the location data point.

Finally, Google reports that its “maps display radius” reflects the actual location of the covered

device approximately 68% of the time.

                              Facts Specific to Terry Lynn Lindsey

       18.     Terry Lynn Lindsey, date of birth XX/XX/XXXX, is another individual who

entered the U.S. Capitol building in Washington, D.C. on January 6, 2021. On January 7, 2021,

the day after the above-described events, the FBI received a tip, via its online platform at

tips.fbi.gov, that Lindsey was involved in the January 6, 2021 breach of the Capitol. The provider

of the tip (hereinafter referred to as “Witness 2”), who has met Lindsey, gave photographs to the

FBI of Lindsey apparently in the Capitol and holding an American flag in proximity to others.

Judging by their angle and closeness to his person, the photographs appear to have been taken by

Lindsey. Witness 2 obtained the photographs from a close contact, who had access to one or more

close contacts of Lindsey. Witness 2’s tip also included a screenshot of a Facebook profile

associated with Lindsey (the “Lindsey Profile”), which is in the name “Terry Lindsey”. The FBI

searched for and identified the Lindsey Profile using the screenshot.

       19.     Records from Facebook show that the Lindsey Profile is in the name of Terry

Lindsey, with (937) 538-8427 as the verified telephone number provided by the Lindsey Profile



                                                 8
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 11 of 17




holder. Per open-source research, that telephone number is associated with Terry L. Lindsey, date

of birth March 28, 1967. The FBI believes this phone number is a historical number, previously

assigned to and/or used by Lindsey. Records obtained from Sprint indicated the number was

subscribed to another person as of April 8, 2020. A cursory review of open source, Ohio Bureau

of Motor Vehicle records, and commercial databases, did not reveal a link between Lindsey and

the current subscriber. The profiles of Lindsey and Croy were “friends” on Facebook prior to the

apparent deletion of Croy’s account.

         20.   In addition, the FBI obtained official photographs of Terry Lynn Lindsey, date of

birth XX/XX/XXXX. One photograph was from the Ohio Bureau of Motor Vehicles and dated

May 5, 2015, their most recent photograph of Lindsey. A second photograph was a police

photograph of Lindsey dated December 12, 2019. The FBI compared these two photographs to

the photographs associated with the online tip and the Lindsey Profile. The individual in the

official and police photographs appeared to be the same as that in the photographs associated with

the online tip and Lindsey Profile, and the FBI believes the individual in all the aforementioned

photographs is in fact the same individual, Terry Lynn Lindsey.

         21.   Review of the Lindsey Profile revealed photographs, posts, and commentary

evidencing Lindsey’s participation in the January 6, 2021 breach. For example, on January 4,

2021, the following post appeared on the Lindsey Profile: “Going to D.C. anyone I know going

give me a shout out.” Further posts to the Lindsey Profile from January 5, 2021, subsequently

informed others of Lindsey’s apparent location along the way, stating, “Just hit West Virginia”;

“Just got to Pennsylvania”; and “In Maryland”.      These posts to the Lindsey Profile are pasted

below.




                                                9
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 12 of 17




       22.    On January 6, 2021, various photographs were posted to the Lindsey Profile,

ostensibly taken by Lindsey and near the Capitol among a crowd consistent with the events of that

day. One such photograph showing Lindsey himself is included here.




                                               10
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 13 of 17




       23.     At approximately 3:38 p.m., another photograph of Lindsey was posted to the

Lindsey Profile with the caption, “Inside the Capitol”. The photograph is indoors in surroundings

consistent with the Capitol, next to the “Lincoln the Legislator” bust described above. In this

photograph, Lindsey held an American flag and stood next to another individual who was also

holding some type of flag and wearing Trump-branded clothing. This post is pasted below, along

with a post to the Lindsey Profile bearing a substantially similar or identical photograph with a

caption, “Notice how peaceful we were inside the Capitol. Don’t believe the news we didn’t start

shit”. Lindsey is the man standing on the left in the photographs, and the FBI believes Croy is the

man on the right, as discussed above.

                                                11
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 14 of 17




       24.    Lindsey and Croy also appeared in a video placing them in a building that appears

consistent with the Capitol, among a crowd that appears and sounds consistent with the events of

January 6, 2021. The video was originally posted to the social-media site Parler. It was

subsequently published online by an open-source investigative journalism site, at which the FBI

viewed it, as part of a chronological compilation of footage posted to Parler on or about January

6, 2021.




                                               12
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 15 of 17




       25.    The Metropolitan Police Department body camera footage described above that

captured Croy also briefly captured Lindsey inside the Capitol Rotunda. A screenshot from the

body camera footage is pasted below, with Lindsey indicated by a red oval.




       26.    Lindsey posted to the Lindsey Profile the night of January 6, 2021 as follows: “To

all yens who don’t like what happened today you are being brainwashed .i was there it was good

until the D.C. police”. This post from the Lindsey Profile is pasted below, in redacted form to

remove identifying information of another individual.




                                              13
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 16 of 17




       27.     Finally, Lindsey posted several suggestions that he traveled to Washington, D.C.

and entered the Capitol Building with at least one other person. In addition to the aforementioned

photographs and video footage with Croy, Lindsey, in the comments section of the aforementioned

January 4, 2021 post that stated “Going to D.C. anyone I know going give me a shout out.”,

responded to a question of when he was traveling by writing, “Leaving Dayton in the a.m. not

ncoic just pax.” Another FBI agent has informed me that “ncoic” is an abbreviation for non-

commissioned officer in charge, a leadership position within the military, and “pax” is military

slang meaning passenger and/or person. Also, at approximately 11:08 p.m. on January 6, 2021,

Lindsey posted, “All I know is my D.C. roommates snoring like I don’t know what.”

       28.     Based on the foregoing, your affiant submits that there is probable cause to believe

that Croy and Lindsey each violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)

knowingly enter or remain in any restricted building or grounds without lawful authority to do so;

and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government

                                                14
Case 1:21-mj-00234-NRN Document 1 Filed 02/17/21 USDC Colorado Page 17 of 17




business or official functions, engage in disorderly or disruptive conduct in, or within such

proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or

disrupts the orderly conduct of Government business or official functions; or attempts or conspires

to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,

cordoned off, or otherwise restricted area of a building or grounds where the President or other

person protected by the Secret Service, including the Vice President, is or will be temporarily

visiting; or any building or grounds so restricted in conjunction with an event designated as a

special event of national significance.

       29.     Your affiant submits there is also probable cause to believe that Croy and Lindsey

each violated 40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and

knowingly (D) utter loud, threatening, or abusive language, or engage in disorderly or disruptive

conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent to impede,

disrupt, or disturb the orderly conduct of a session of Congress or either House of Congress, or the

orderly conduct in that building of a hearing before, or any deliberations of, a committee of

Congress or either House of Congress; and (G) parade, demonstrate, or picket in any of the Capitol

Buildings.


                                              _________________________________
                                              ROBERT MARCUM
                                              Special Agent
                                              Federal Bureau of Investigation


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 16th day of February 2021.


                                              _________________________________
                                              G. MICHAEL HARVEY
                                              U.S. MAGISTRATE JUDGE

                                                15
